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 1   SCOTT A. SCHIFF (SBN 137245)
     SOUKUP & SCHIFF, LLP
 2   16255 VENTURA BLVD., SUITE 708
     ENCINO, CALIFORNIA 91436
 3   Tel.: (310) 276-2026
     Fax: (310) 286-0522
 4   Email: sas@soukup-schiff.com

 5   Attorneys for National Loan Acquisitions Company
 6
                              UNITED STATES BANKRUPTCY COURT
 7
                               CENTRAL DISTRICT OF CALIFORNIA
 8                                     SANTA ANA DIVISION
 9

10
     In re:                                        Chapter 13
11

12   PHILIP H. INMAN,                              Case No. 8:24-bk-10285-MH

13                       Debtor.                   Judge: Hon. Mark D. Houle

14
                                                   NATIONAL LOAN ACQUISITIONS
15
                                                   COMPANY’S OBJECTIONS TO
16                                                 CONFIRMATION OF DEBTOR’S ORIGINAL
                                                   CHAPTER 13 PLAN; DECLARATION OF
17                                                 COLIN THOMPSON; DECLARATION OF
                                                   SCOTT A. SCHIFF
18

19
                                                   Confirmation Hearing
20                                                 Date: March 28, 2024
                                                   Time: 10:30 a.m.
21                                                 Place: Courtroom 6C
                                                          411 W. Fourth Street
22                                                        Santa Ana, CA 92701
23

24
     TO THE HONORABLE MARK A. HOULE, UNITED STATES BANKRUPTCY JUDGE,
25
     DEBTOR PHILIP H. INMAN AND HIS ATTORNEY OF RECORD, THE CHAPTER 13
26

27   TRUSTEE, AND ALL PARTIES IN INTEREST:

28


                                              1
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 1          National Loan Acquisitions Company (“NLAC”) objects to and opposes confirmation of the

 2   Original Chapter 13 Plan (“Plan”) filed by the Debtor Philip H. Inman (the “Debtor”), and urges this
 3
     Court to deny confirmation of the Plan and dismiss Debtor’s bankruptcy case.
 4
                                                       I.
 5
                                                     FACTS
 6
            1.     NLAC is the holder of a certain Equity Line of Credit Agreement dated December 22,
 7
     2005, in the original principal amount of $290,000.00 on which Debtor is the obligor (the “Loan”).
 8

 9   (Declaration of Colin Thompson (“Thompson Dec.”), par. 4.)

10          2.     The monthly payment on the Loan is $2,432.77. (Thompson Dec., par. 5.)

11          3.     The Loan is secured by a Deed of Trust recorded against Debtor’s residence at 2042
12   Palemetto Terrace, Fullerton, California 92831 (the “NLAC Deed of Trust”). The Deed of Trust was
13
     recorded on December 27, 2005. (Thompson Dec., par. 6.)
14
            4.     As of February 5, 2024 (Debtor’s Petition Date), the total principal, interest, fees, and
15
     cost owing on the Loan was $271,326.00. (Thompson Dec., par. 7; Proof of Claim 3.)
16

17          5.     As of the Debtor’s Petition Date, the total arrearages on the Loans were $24,959.07.

18   (Thompson Dec., par. 8.)

19          6.     Debtor’s principal residence is the real property at 2042 Palemetto Terrace, Fullerton,
20
     California 92831 (“Debtor’s Residence”). (Docket Nos. 1 and 12.)
21
            7.     Debtor’s Schedule D incorrectly states that NLAC holds a first Deed of Trust on the
22
     real property known as 12066-68 Downey Ave., Downey, California 90241 (the “Downey Property”)
23
     and that the amount of NLAC’s claim is $251,732.09. (Docket No. 12.)
24

25          8.     Debtor’s Schedules list no Deeds of Trust against the Downey Property other than

26   incorrectly stating that the NLAC Deed of Trust is a lien against the Downey Property.
27

28


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 1          9.       Debtor’s Schedule D states that Planet Home Lending holds a first Deed of Trust on

 2   Debtor’s Residence (the “Planet Deed of Trust”). (Docket No. 12.)
 3
            10.     Debtor’s Schedules list no Deeds of Trust against Debtor’s Residence other than
 4
     Planet Deed of Trust. (Docket No. 12.)
 5
            11.     Debtor’s Schedule J, Part 2, No. 4 states that Debtor’s home ownership expense for his
 6
     residence is $1,495.00. (Docket No. 12.) Other than the foregoing expense, there are no other loan
 7

 8   or rent expenses with respect to Debtor’s Residence showing on Schedule J.

 9          12.     Debtor testified at his Meeting of Creditors that the monthly payment to Planet Home
10   Lending (holder of first Deed of Trust on Debtor’s Residence) is $1,480.00. (Declaration of Scott A.
11
     Schiff (“Schiff Dec.”), par. 2.)
12
            13.     The 13 Plan lists only two creditors in Class 2, namely Pinehurst at Coyote Hill
13
     (“Pinehurst”) and Planet Home Lending. (Docket No. 15.) Schedule D states that Pinehurst is the
14

15   Homeowners Association with respect to Debtor’s Residence.

16          14.     NLAC is listed in Class 4 of the Plan with $0.00 arrearage, notwithstanding the facts

17   that NLAC’s loan is secured by Debtor’ Residence and that NLAC’s Loan matures after the final plan
18   payment.
19
            15.     There are three Deeds of Trust recorded against Debtor’s Residence. The first Deed of
20
     Trust is in favor of MTGLQ Investors, L.P., the second Deed of Trust is the NLAC Deed of Trust,
21
     and the third Deed of Trust is in favor of American Surety Company. (Thompson Dec., par. 9.) The
22

23   Plan and Schedules refer to the holder of the First Deed of Trust on Debtor’s Residence as “Planet

24   Home Lending,” which appears to be the servicer of the First Deed of Trust on Debtor’s Residence.

25          16.     There are likely two Deeds of Trust recorded against Debtor’s 50% interest in the
26
     Downey Property. First, Debtor’s Schedule J, Part 2, No. 17c states that there is a Deed of Trust on
27
     the Downey Property, and Debtor characterizes said Deed of Trust as “1st” trust deed. Additionally,
28


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 1   at his Meeting of Creditors, Debtor stated that he has loan from PKN Investments (“PKN”) that is

 2   secured by his 50% interest in the Downey Property. (Schiff Dec., par. 3.) Second, NLAC’s counsel
 3
     is informed and believes that there is another Deed of Trust in favor of PKN that is secured by
 4
     Debtor’s 50% interest in the Downey Property. (Schiff Dec., par. 4.) NLAC’s counsel is informed
 5
     and believes that PKN holds a first position Deed of Trust securing a loan in the original amount of
 6
     $90,000.00 and second position Deed of Trust securing a loan in the original amount of $210,000.00.
 7

 8   (Schiff Dec., par. 4.)

 9           17.      Debtor testified at his Meeting of Creditors that PKN is owed approximately
10   $220,000.00, that the payment on that loan is $1,837.50 a month, and that loan is secured by his 50%
11
     interest in the Downey Property. (Schiff Dec., par. 3.) Debtor’s Schedule J, Part 2, No.17c states the
12
     payment on the first Deed of Trust on the Downey Property as $1,837.50. Other than the foregoing
13
     expense, there are no other loan payments with respect to the Downey Property showing on Schedule
14

15   J.

16           18.      The Petition does not list PKN as a creditor.

17           19.      The Plan does not account for PKN.
18           20.      Debtor’s Schedule I lists two sources of income: Social Security of $2,197.90 and
19
     Rental Income from the Downey Property of $5,667.77. Debtor provides nothing to substantiate the
20
     rental income.
21
             21.      Debtor has not filed tax returns for 2018, 2020, 2021, 2022 and 2023. (Proof of Claim
22

23   1 filed by Internal Revenue Service.)

24   //

25   //
26
     //
27
     //
28


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 1                                                     II.

 2                         THE PLAN DOES NOT SATISFY 11 U.S.C SEC. 1325

 3          A.      The Plan Does Not Satisfy 11 U.S.C. Section 1325(a)(5)
 4          Section 1325(a)(5) can be satisfied by the Plan meeting the requirements of either subsection
 5
     (A), (B), or (C). Subsection A is not satisfied because NLAC does not accept the Plan. Subsection
 6
     (C) is not satisfied because the Debtor is not surrendering his residence to NLAC. Subsection (B) is
 7
     not satisfied because the Plan proposes no payment on NLAC’s arrearage as required by Section
 8

 9   1325(a)(5)(B)(ii).

10          B.      The Plan Does Not Satisfy 11 U.S.C. Section 1325(a)(6)

11          Pursuant to Section 1325(a)(6) the Plan can only be confirmed if “the debtor will be able to
12   make all payments under the plan and to comply with the plan.” Debtor cannot satisfy Section
13
     1325(a)(6) because:
14
                    1.     There is absolutely no evidence that Debtor receives any income in excess of
15
                           monthly Social Security payments of $2,197.90 (at the Meeting of Creditors,
16

17                         the Trustee indicated that Debtor provided proof of Social Security income).

18                  2.     Assuming, arguendo, that Debtor receives $5,667.77 of income from the

19                         Downey Property as represented in Schedule I, that income will not be enough
20
                           to make plan payments because:
21
                           (a)     the Plan does not provide for payment of NLAC’s arrearage, and once
22
                                   that is taken into account, the monthly net income will not be sufficient;
23
                           (b)     Schedule J lists the mortgage payment on Debtor’s residence at
24

25                                 $1,495.00 (Debtor testified that it is $1,480), NLAC’s payment is

26                                 $2,432.77, Schedule J shows monthly net income of only $590.27, and
27                                 therefore there’s not enough income to even make the payment to
28


                                                 5
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 1                                 NLAC;

 2                         (c)     Schedule J only includes one payment to PKN (see line 17.c) and
 3
                                   indicates that the payment is for the first PKN Deed of Trust; and there
 4
                                   is no payment on the second PKN Deed of Trust.
 5
                   3.      The Plan does not account for payment of the IRS debt.
 6
            Accordingly, taking into account any or all of the arrearages owing to NLAC, NLAC’s
 7

 8   regular loan payment, the unknown payment on PKN’s second Deed of Trust, and the IRS debt, the

 9   Plan is not feasible, and that is assuming that the Debtor receives $5,667.77 of monthly income from
10   the Downey Property. If the actual amount received from the Downey Property is less, the Plan is
11
     further underwater.
12
            C.     The Plan Does Not Satisfy 11 U.S.C. Section 1325(a)(7)
13
            Section 1325(a) requires that the Petition be filed in good faith. The Petition was not filed in
14

15   good faith because:

16                 1.      The Plan improperly classifies NLAC’s claim.

17                 2.      The Plan does not account for NLAC’s arrearage.
18                 3.      Schedule J does not accurately reflect Debtor’s expenses, as it fails to include:
19
                           (a)     The monthly payment to NLAC of $2,432.77.
20
                           (b)     A monthly payment for the loan secured by a second Deed of Trust in
21
                                   favor of PKN.
22

23                 4.      The Petition does not list PKN as a creditor, as such PKN was not served with

24                         Notice of the case.

25                 5.      Schedule D does not list either of the Deeds of Trust in favor of PKN.
26
                   6.      Schedule D does not list the third Deed of Trust in favor of American Surety
27
                           Company.
28


                                                   6
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 1                                  DECLARATION OF COLIN THOMPSON

 2

 3   I, Colin Thompson, declare:

 4           1.     I am an Asset Manager of National Loan Acquisitions Company (“NLAC”). I make

 5   this declaration in support of NLAC’s Objections to Debtor Philip H. Inman’s Original Chapter 13
 6
     Plan.
 7
             2.     As an Asset Manager of NLAC, I am familiar with the procedures used by NLAC to
 8
     account for the amounts owing on and the payments received and not made with respect to Loans
 9
     held by NLAC, as well as NLAC’s procedures for the retention, storage, and retrieval of all
10

11   information related to the above. I have personal knowledge of the facts set forth below or have

12   gained such knowledge of them from my personal examination of the business records of NLAC
13   maintained in the ordinary course of business. If called upon as a witness, I could and would
14
     competently testify thereto.
15
             3.     NLAC is a corporation, located in and organized under the laws of the State of South
16
     Dakota.
17

18           4.     NLAC is the holder of a certain Equity Line of Credit Agreement dated December 22,

19   2005, in the original principal amount of $290,000.00 on which Philip H. Inman (“Debtor”) is the

20   obligor (the “Loan”). A true and correct copy of the Loan is attached hereto as Exhibit 1.
21           5.     The monthly payment on the Loan is $2,432.77.
22
             6.     The Loan is secured by a Deed of Trust recorded against Debtor’s residence at 2042
23
     Palemetto Terrace, Fullerton, California 92831 (the “NLAC Deed of Trust”). The NLAC Deed of
24
     Trust was recorded on December 27, 2005. A true and correct copy of the recorded NLAC Deed of
25

26   Trust is attached hereto as Exhibit 2.

27           7.     As of February 5, 2024 (Debtor’s Petition Date), the total principal, interest, fees, and

28   cost owing on the Loan was $271,326.00.


                                                  8
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                                                     DECLARATION OF COLIN THOMPSON
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                                         TRUSTEE'S SALE GUARANTEE

   SUBJECT TO THE EXCLUSIONS FROM COVERAGE AND THE CONDITIONS ATTACHED HERETO AND
                            MADE A PART OF THIS GUARANTEE


                                WFG NATIONAL TITLE INSURANCE COMPANY
                             a South Carolina corporation, herein called the Company


                                                  GUARANTEES


                                the Assured named in Schedule A of this Guarantee

against loss or damage not exceeding the liability amount stated in Schedule A sustained by the Assured by reason
of any incorrectness in the assurances set forth in Paragraph 3 of Schedule A.


In Witness Whereof, WFG NATIONAL TITLE INSURANCE COMPANY has caused this guarantee to be signed
and sealed by its duly authorized officers as of Date of Guarantee shown in Schedule A.




WFG Form No. 3174406
CLTA Guarantee Form No. 22 (06-05-14) – Trustee’s Sale Guarantee
Revised 1-07-2017
                                                                          DECLARATION OF COLIN THOMPSON
                                                      28                                         EXHIBIT 3
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                                                     TRUSTEE’S SALE GUARANTEE

                                                             SCHEDULE A


Guarantee No.:            3174406-7380247                                               Liability:   $260,000.00
File No.:                 2373813CAD
Your No.:                 132248-5
Date of Guarantee:        September 29, 2023                                            Fee:         $570.00


1.    Name of Assured:
      Mortgage Lender Services, Inc. and National Loan Acquisitions Company
2.    The estate or interest in the Land that is the subject of this Guarantee is:
      Fee Simple
3.    Assurances:
      According to the Public Records as of the Date of Guarantee,
      a.     Title to the estate or interest is vested in:
             Philip H. Inman, an unmarried man
      b.     Title to the estate or interest is subject to defects, liens or encumbrances shown in Schedule B which are not
             necessarily shown in the order of their priority.
      c.     The Land referred to in this Guarantee is situated in the State of California, County of Orange, and is described as
             follows:
             See Exhibit “A” attached hereto and made a part hereof
      d.     Relative to the Mortgage shown in Paragraph 10 of Schedule B:
            i.    For the purposes of California Civil Code §§ 2924b (b) and (d), the address of the trustor or mortgagor as shown in
                   the Mortgage is:
                       Philip H. Inman
                       2042 Palmetto Terrace
                       Fullerton, CA 92831
           ii.    The names and addresses of all persons who have recorded requests for a copy of notice of default and for a copy
                   of notice of sale as provided by California Civil Code §§ 2924b (a), (b) and (d) are:
                       None
           iii.   The names and addresses of all additional persons who are entitled to receive a copy of notice of default and a
                   copy of notice of sale as provided by California Civil Code §§ 2924b (c) (1), (2) and (3) are:
                       American Surety Company
                       P.O. Box 68932
                       Indianapolis, IN 46268

                       Affects: Item #11
           iv.    The names and addresses of all associations defined in California Civil Code §§ 4080 or 6528 that have recorded
                   a request for notice that are entitled to receive a copy of any trustee's deed upon sale as provided by California
                   Civil Code § 2924b (f) are:
                       None
           v.     The names and addresses of all state taxing agencies that are entitled to receive a copy of notice of sale as
                   provided by California Civil Code § 2924b (c) (3) are:
                       None
           vi.    The address of the Internal Revenue Service to which a copy of notice of sale is to be mailed as provided by
                   California Civil Code § 2924b (c) (4) is:
                       Not Applicable
WFG Form No. 3174406
CLTA Guarantee Form No. 22 (06-05-14) – Trustee’s Sale Guarantee
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      vii.    The name of each city in which the Land is located is:
                  Fullerton
                  If not in a city, each public notice district in which the land is located is:
                  Not Applicable
      viii.   The name of a newspaper of general circulation for the publication of a notice of sale as required by California Civil
               Code § 2924f (b) (1) is:
                  Fullerton News Tribune
                  Published: Thursday




WFG Form No. 3174406
CLTA Guarantee Form No. 22 (06-05-14) – Trustee’s Sale Guarantee
Revised 1-07-2017
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                                                TRUSTEE’S SALE GUARANTEE

                                                            SCHEDULE B


1.    Property taxes, which are a lien not yet due and payable, including any assessments collected with taxes, to be levied for
      the fiscal year 2023-2024.

2.    General and Special City and/or County taxes, including any personal property taxes and any assessments collected with
      taxes, for the fiscal year 2022-2023:

      1st Installment:                 $2,281.23, Paid
      2nd Installment:                 $2,281.23, Paid
      Parcel No.:                      285-311-15
      Code Area:                       03-014

3.    Assessments, if any, for Community Facility Districts affecting said land which may exist by virtue of assessment map or
      notices filed by said districts. Said assessments are collected with the County Taxes.

4.    The lien of supplemental taxes, if any, assessed pursuant to the provisions of Chapter 3.5 (commencing with Section 75) of
      the Revenue and Taxation Code of the State of California.

5.    Said land disclosed herein is also known by the County Tax Assessor as the following parcel number(s):

      285-311-15

6.    Covenants, conditions, or restrictions, if any, appearing in the Public Records; but omitting, except to the extent permitted
      by any applicable federal or state law, covenants or restrictions, if any, based on race, color, religion, sex, familial status,
      national origin, handicap, sexual orientation, marital status, ancestry, source of income, disability, medical condition, or
      other unlawful basis.

7.    Any easements, servitudes, or senior encumbrances appearing in the Public Records.

8.    Any lease, grant, exception, or reservation of mineral rights appearing in the Public Records.

9.    Deed of Trust to secure an indebtedness in the amount shown below, and any other obligations secured thereby:

      Amount:                          $277,000.00
      Dated:                           July 19, 2005
      Trustor:                         Philip H. Inman, an unmarried man
      Trustee:                         Full Service, Inc, a California Corporation
      Beneficiary:                     Mortgage Electronic Registration Systems, Inc., solely as nominee for the Lender
      Lender:                          Fullerton Community Bank, FSB
      Recorded:                        July 26, 2005
      Instrument No.:                  2005000576591, of Official Records

      The beneficial interest under said Deed of Trust was:
      Assigned to:                    Bank of America, National Association, successor by merger to BAC Home Loans
      Servicing, LP FKA Countrywide Home Loans Servicing, LP
      By:                             Mortgage Electronic Registration Systems, Inc.
      By Assignment Recorded:         January 4, 2012
      As Instrument No.:              2012000002710, of Official Records

      The beneficial interest under said Deed of Trust was:
      Assigned to:                    Federal National Mortgage Association
      By:                             Bank of America, National Association, successor by merger to BAC Home Loans
      Servicing, LP FKA Countrywide Home Loans Servicing, LP
      By Assignment Recorded:         March 31, 2015
      As Instrument No.:              2015000161817, of Official Records

      A Substitution of Trustee which names The Mortgage Law Firm, PLC as trustee,
      recorded August 19, 2016, as Instrument No. 2016000393092, of Official Records.


WFG Form No. 3174406
CLTA Guarantee Form No. 22 (06-05-14) – Trustee’s Sale Guarantee
Revised 1-07-2017

                                                                                        DECLARATION OF COLIN THOMPSON
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    The beneficial interest under said Deed of Trust was:
    Assigned to:                    MTGLQ Investors, L.P.
    By:                             Federal National Mortgage Association, by Nationwide Title Clearing, Inc., its Attorney-in-
    Fact
    By Assignment Recorded:         July 21, 2017
    As Instrument No.:              2017000300591, of Official Records

    The beneficial interest under said Deed of Trust was:
    Assigned to:                    Wilmington Trust, National Association, not in its individual capacity but solely as Trustee of
    MFRA Trust 2015-1
    By:                             MTGLQ Investors, L.P.
    By Assignment Recorded:         April 9, 2018
    As Instrument No.:              2018000124250, of Official Records

    A Substitution of Trustee which names Prestige Default Services as trustee,
    recorded April 4, 2019, as Instrument No. 2019000108050, of Official Records.

10. Deed of Trust to secure an indebtedness in the amount shown below, and any other obligations secured thereby:

    Amount:                         $290,000.00
    Dated:                          December 22, 2005
    Trustor:                        Philip H. Inman, an unmarried man
    Trustee:                        Full Service, Inc
    Lender:                         Fullerton Community Bank, FSB
    Recorded:                       December 27, 2005
    Instrument No.:                 2005001029858, of Official Records

    The above deed of trust is an equity/credit line.

    A Substitution of Trustee which names T.D. Service Company as trustee,
    recorded August 20, 2012, as Instrument No. 2012000477676, of Official Records.

    A Substitution of Trustee which names First American Title Insurance Company as trustee,
    recorded September 5, 2017, as Instrument No. 2017000375865, of Official Records.

    The beneficial interest under said Deed of Trust was:
    Assigned to:                    National Loan Acquisitions Company, an Oregon Corporation
    By:                             Pacific Premier Bank, a California Commercial Bank, successor by merger to Fullerton
    Community Bank, FSB
    By Assignment Recorded:         December 3, 2020
    As Instrument No.:              2020000708894, of Official Records

    A Substitution of Trustee which names Mortgage Lender Services, Inc as trustee,
    recorded September 29, 2023, as Instrument No. 2023000239276, of Official Records.

    A Notice of Default recorded September 29, 2023, as Instrument No. 2023000239277, of Official Records.

11. Deed of Trust to secure an indebtedness in the amount shown below, and any other obligations secured thereby:

    Amount:                         $175,000.00
    Dated:                          January 4, 2008
    Trustor:                        Philip H. Inman
    Trustee:                        Underwriters Surety, Inc., an Indiana Corporation
    Lender:                         American Surety Company
    Recorded:                       January 10, 2008
    Instrument No.:                 2008000015165, of Official Records

12. Any claim arising out of a bankruptcy proceeding that is not disclosed by notice pursuant to U.S.C. § 549 (c).




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NOTE: If the property which is the subject of this report or guarantee has been used, is being used, or was
      acquired with the intent that it be used in connection with a marijuana related enterprise, including but not
      limited to the cultivation, storage, distribution, transport, manufacture or sale of marijuana and/or products
      containing marijuana, the federal government (or the state or local government if such use is deemed to be
      noncompliant with state or local law) may claim a preeminent right to the property automatically effective as
      of the date of the use which it deems illegal. Nothing in this report or guarantee provides assurances
      against the exercise of such a governmental forfeiture, regulatory or police power, and further, Company
      expressly reserves the right to decline to close or insure such a property following the completion of any
      litigation or foreclosure action conducted on said property. You are advised to consult your legal counsel on
      whether it is required, advisable, or inadvisable to give notice to the Federal and/or State government in
      order to address potential forfeiture issues.




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                                                     EXHIBIT “A”

                                                LEGAL DESCRIPTION


All that certain real property situated in the County of Orange, State of California, described as follows:

Lot 16 of Tract No. 14935, in the City of Fullerton, County of Orange, State of California, as per Map recorded in
Book 718, Pages 40 to 50 inclusive of Miscellaneous Maps, and by Certificate of Correction recorded March 27,
1995 as Instrument No. XX-XXXXXXX, of Official Records, in the Office of the County Recorder of said County.


NOTE: For information purposes only, for which the Company assumes no liability for any inaccuracies or
omissions, the purported street address of said land as determined from the latest County Assessor’s Roll is:

                                 2042 PALMETTO TERRACE, Fullerton, CA 92831




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                                         EXCLUSIONS FROM COVERAGE

    1. Except to the extent of the assurances set forth in Paragraph 3 of Schedule A, the Company assumes no
       liability for loss or damage by reason of any law, ordinance, governmental regulation or any other police
       power adopted or promulgated by any federal or state government authority purporting to regulate non-
       judicial foreclosures or any related duties, whether or not disclosed by the Public Records at the Date of
       Guarantee.
    2. Notwithstanding any assurances set forth in Paragraph 3 of Schedule A, the Company assumes no liability
       for loss or damage by reason of the following:
    (a) Defects, liens, encumbrances, adverse claims or other matters affecting the title to any property beyond the
        lines of the Land expressly described in the description set forth in Schedule A of this Guarantee, or title to
        streets, roads, avenues, lanes, ways or waterways to which such Land abuts, or the right to maintain
        therein vaults, tunnels, ramps or any structure or improvements; or any rights or easements therein, unless
        such property, rights or easements are expressly and specifically set forth in said description.
    (b) Defects, liens, encumbrances, adverse claims or other matters, whether or not shown by the Public
        Records (1) that are created, suffered, assumed or agreed to by one or more of the Assureds; (2) that
        result in no loss to the Assured; or (3) that do not result either in the invalidity of any non-judicial
        proceeding to foreclose the lien of the Mortgage or the failure of any such non-judicial foreclosure
        proceeding to divest a lien, estate or interest subordinate or subject to the lien of the Mortgage.
    (c) Defects, liens, encumbrances, adverse claims or other matters against the title, not shown by the Public
        Records.
    (d) The identity of any party shown or referred to in Schedule A.
    (e) The validity, legal effect or priority of any matter shown or referred to in this Guarantee.
    (f) Any law, ordinance, governmental regulation or any other police power adopted or promulgated by any
        county, city, or any other local government authority purporting to regulate non-judicial foreclosures or any
        related duties, whether or not disclosed by the Public Records at the Date of Guarantee.
    (g) (1) Taxes or assessments of any taxing authority that levies taxes or assessments on real property; or, (2)
        proceedings by a public agency which may result in taxes or assessments, or notices of such proceedings,
        whether or not the matters excluded under (1) or (2) are shown by the records of the taxing authority or by
        the Public Records.
    (h) (1) Unpatented mining claims; (2) reservations or exceptions in patents or in Acts authorizing the issuance
        thereof; (3) water rights, claims or title to water, whether or not the matters excluded under (1), (2) or (3)
        are shown by the Public Records.




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                                            INFORMATIONAL NOTES


No assurances as set forth in Paragraph 3 of Schedule A are provided in connection with the following information
and the Company assumes no liability for any inaccuracies in or omissions from the information. This information is
not intended to be comprehensive and does not necessarily include all laws and regulations that might affect the
contemplated foreclosure.
1. Attention is called to Article I commencing with California Civil Code Sections 2920 et. seq, of Chapter 2, Title
   14, Part 4, Division 3, that govern the actions of mortgagees, beneficiaries, mortgage servicers, trustees, and
   their agents with respect to non-judicial foreclosures.
2. Attention is called to the Servicemembers Civil Relief Act (SCRA) (50 USC §§3901 et seq.), the Military
   Reservist Relief Act of 1991 (California Military and Veterans Code §§ 800 et seq.), and Military and Veterans
   Code § 408, that contain restrictions against the sale of land under a deed of trust or mortgage if the owner is
   entitled to the benefits of those laws.
3. Attention is called to the Federal Tax Lien Act of 1966 (26 USC §§ 6321 et seq.), that, among other things,
   provides for the giving of written notice of sale in a specified manner to the Secretary of Treasury or his or her
   delegate as a requirement for the discharge or divestment of a Federal Tax Lien in a non-judicial sale, and
   establishes with respect to that lien a right in the United States to redeem the property within a period of 120
   days from the date of the sale.
4. Attention is called to California Government Code § 16187, that, among other things, provides for the giving of
   written notice of sale in a specified manner to the Controller of the State of California necessary for the
   discharge or divestment in a non-judicial sale of a Notice of Lien for Postponed Property Taxes recorded in the
   public records subsequent to the recording of a notice of default.




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                                 TRUSTEE'S SALE GUARANTEE CONDITIONS

1. Definition of Terms.
   The following terms when used in the Guarantee mean:
   (a) the "Assured": (i) the party or parties named as the Assured in Schedule A, or on a supplemental writing
       executed by the Company, (ii) the duly substituted trustee of the Mortgage and (iii) the owner of the
       indebtedness or other obligation secured by the Mortgage.
   (b) "Land": the Land described or referred to in Schedule A, and improvements affixed thereto which by law
       constitute real property. The term "Land" does not include any property beyond the lines of the area
       described or referred to in Schedule A, nor any right, title, interest, estate or easement in abutting streets,
       roads, avenues, alleys, lanes, ways or waterways.
   (c) "Mortgage": the mortgage, deed of trust, trust deed, or other security instrument set forth in Paragraph
       3.d. of Schedule A.
   (d) "Public Records": those records established under California statutes at Date of Guarantee for the purpose
       of imparting constructive notice of matters relating to real property to purchasers for value and without
       knowledge.
   (e) "Date of Guarantee": the Date of Guarantee set forth in Schedule A
2. Notice of Claim to be Given by Assured.
   The Assured shall notify the Company promptly in writing in case knowledge shall come to the Assured of any
   assertion of facts, or claims of title or interest that are contrary to the assurances set forth in Paragraph 3 of
   Schedule A and that might cause loss or damage for which the Company may be liable under this Guarantee.
   If prompt notice shall not be given to the Company, then all liability of the Company shall terminate with regard
   to the matter or matters for which prompt notice is required; provided, however, that failure to notify the
   Company shall in no case prejudice the rights of the Assured under this Guarantee unless the Company shall
   be prejudiced by the failure and then only to the extent of the prejudice.
3. No Duty to Defend or Prosecute.
   The Company shall have no duty to defend or prosecute any action or proceeding to which the Assured is a
   party, notwithstanding the nature of any allegation in such action or proceeding.
4. Company's Option to Defend or Prosecute Actions; Duty of Assured to Cooperate.
   Even though the Company has no duty to defend or prosecute as set forth in Paragraph 3 above:
   (a) The Company shall have the right, at its sole option and cost, to institute and prosecute any action or
       proceeding, interpose a defense, as limited in Paragraph 4.b. or to do any other act which in its opinion
       may be necessary or desirable to establish the correctness of the assurances set forth in Paragraph 3 of
       Schedule A or to prevent or reduce loss or damage to the Assured including, but not limited to, repeating
       the trustee's sale proceeding. The Company may take any appropriate action under the terms of this
       Guarantee, whether or not it shall be liable hereunder, and shall not thereby concede liability or waive any
       provision of this Guarantee. If the Company shall exercise its rights under this paragraph, it shall do so
       diligently.
   (b) If the Company elects to exercise its options as stated in Paragraph 4.a. the Company shall have the right
       to select counsel of its choice (subject to the right of the Assured to object for reasonable cause) to
       represent the Assured and shall not be liable for and will not pay the fees of any other counsel, nor will the
       Company pay any fees, costs or expenses incurred by the Assured in the defense of those causes of
       action which allege matters not covered by this Guarantee.
   (c) Whenever the Company shall have brought an action or interposed a defense as permitted by the
       provisions of this Guarantee, the Company may pursue any litigation to final determination by a court of
       competent jurisdiction and expressly reserves the right, in its sole discretion, to appeal from an adverse
       judgment or order.
   (d) In all cases where this Guarantee permits the Company to prosecute or provide for the defense of any
       action or proceeding, the Assured shall secure to the Company the right to so prosecute or provide for the
       defense of any action or proceeding, and all appeals therein, and permit the Company to use, at its option,
       the name of the Assured for this purpose. Whenever requested by the Company, the Assured, at the
       Company's expense, shall give the Company all reasonable aid in any action or proceeding, securing
       evidence, obtaining witnesses, prosecuting or defending the action or lawful act which in the opinion of the
       Company may be necessary or desirable to establish the correctness of the assurances set forth in
       Paragraph 3 of Schedule A. If the Company is prejudiced by the failure of the Assured to furnish the
       required cooperation, the Company's obligations to the Assured under the Guarantee shall terminate.
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5. Proof of Loss or Damage.
   (a) In addition to and after the notices required under Section 2 of these Conditions have been provided to the
       Company, a proof of loss or damage signed and sworn to by the Assured shall be furnished to the
       Company within ninety (90) days after the Assured shall ascertain the facts giving rise to the loss or
       damage. The proof of loss or damage shall describe the matters covered by this Guarantee which
       constitute the basis of loss or damage and shall state, to the extent possible, the basis of calculating the
       amount of the loss or damage. If the Company is prejudiced by the failure of the Assured to provide the
       required proof of loss or damage, the Company's obligation to the Assured under the Guarantee shall
       terminate.
   (b) The Company may reasonably require the Assured to submit to examination under oath by any authorized
       representative of the Company and to produce for examination, inspection, and copying, at such
       reasonable times and places as may be designated by the authorized representative of the Company, all
       records, in whatever medium maintained, including books, ledgers, checks, memoranda, correspondence,
       reports, e-mails, disks, tapes, and videos whether bearing a date before or after Date of Guarantee, that
       reasonably pertain to the loss or damage. Further, if requested by any authorized representative of the
       Company, the Assured shall grant its permission, in writing, for any authorized representative of the
       Company to examine, inspect, and copy all of these records in the custody or control of a third party that
       reasonably pertain to the loss or damage. All information designated as confidential by the Assured
       provided to the Company pursuant to this Section shall not be disclosed to others unless, in the reasonable
       judgment of the Company, it is necessary in the administration of the claim. Failure of the Assured to
       submit for examination under oath, produce any reasonably requested information, or grant permission to
       secure reasonably necessary information from third parties as required in this subsection, unless prohibited
       by law or governmental regulation, shall terminate any liability of the Company under this Guarantee as to
       that claim.
6. Options to Pay or Otherwise Settle Claims: Termination of Liability.
   In case of a claim under this Guarantee, the Company shall have the following additional options:
   (a) To Pay or Tender Payment of the Amount of Guarantee or to Purchase the Indebtedness.
           i.    To pay or tender payment of the full amount of this Guarantee together with any costs, attorneys'
                 fees, and expenses incurred by the Assured that were authorized by the Company up to the time
                 of payment or tender of payment and that the Company is obligated to pay; or
          ii.    To purchase the indebtedness secured by the Mortgage for the amount owing thereon, together
                 with any costs, attorneys' fees, and expenses incurred by the Assured that were authorized by the
                 Company up to the time of purchase and that the Company is obligated to pay.
       When the Company so purchases such indebtedness, the owner thereof shall transfer, assign, and convey
       to the Company the indebtedness and the Mortgage, together with any collateral security.
       Upon the exercise by the Company of either of the options provided for in Paragraphs 6.a.i. or 6.a.ii., all
       liability and obligations of the Company to the Assured under this Guarantee, other than to make the
       payment required in those paragraphs, shall terminate, including any duty to continue any and all litigation
       initiated by Company pursuant to Paragraph 4.
   (b) To Pay or Otherwise Settle With Parties Other Than the Assured or With the Assured.
           i.    To pay or otherwise settle with other parties for or in the name of an Assured any claim assured
                 against under this Guarantee. In addition, the Company will pay any costs, attorneys' fees, and
                 expenses incurred by the Assured that were authorized by the Company up to the time of payment
                 and that the Company is obligated to pay; or
          ii.    To pay or otherwise settle with the Assured the loss or damage provided for under this Guarantee,
                 together with any costs, attorneys' fees, and expenses incurred by the Assured that were
                 authorized by the Company up to the time of payment and that the Company is obligated to pay.
       Upon the exercise by the Company of either of the options provided for in Paragraphs 6. b.i. or 6.b.ii., the
       Company's obligations to the Assured under this Guarantee for the claimed loss or damage, other than the
       payments required to be made, shall terminate, including any duty to continue any and all litigation initiated
       by Company pursuant to Paragraph 4.




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7. Limitation of Liability.
   This Guarantee is a contract of Indemnity against actual monetary loss or damage sustained or incurred by the
   Assured who has suffered loss or damage by reason of reliance upon the assurances set forth in Paragraph 3
   of Schedule A and only to the extent herein described, and subject to the Exclusions From Coverage and
   Conditions of this Guarantee.
   (a) The liability of the Company under this Guarantee to the Assured shall not exceed the least of:
            i.    the amount of liability stated in Schedule A;
           ii.    the amount of the unpaid principal indebtedness secured by the Mortgage as limited or as reduced
                  under Paragraph 8 of these Conditions at the time the loss or damage assured against by this
                  Guarantee occurs, together with interest thereon; or
          iii.    the difference between the value of the estate or interest set forth in Schedule A and the value of
                  the estate or interest subject to any defect, lien, encumbrance or other matter assured against by
                  this Guarantee..
   (b) If the Company or the Assured under the direction of the Company at the Company's expense establishes
       the title, or removes the alleged defect, lien or, encumbrance or cures any other matter assured against by
       this Guarantee in a reasonably diligent manner by any method, including litigation and the completion of
       any appeals therefrom, it shall have fully performed its obligations with respect to that matter and shall not
       be liable for any loss or damage caused thereby.
   (c) In the event of any litigation by the Company or with the Company's consent, the Company shall have no
       liability for loss or damage until there has been a final determination by a court of competent jurisdiction,
       and disposition of all appeals therefrom.
   (d) The Company shall not be liable for loss or damage to the Assured for liability voluntarily assumed by the
       Assured in settling any claim or suit without the prior written consent of the Company.
8. Reduction of Liability or Termination of Liability.
   All payments under this Guarantee, except payments made for costs, attorneys' fees and expenses pursuant to
   Paragraph 4 shall reduce the amount of liability pro tanto.
9. Payment of Loss.
   (a) No payment shall be made without producing this Guarantee for endorsement of the payment unless the
       Guarantee has been lost or destroyed, in which case proof of loss or destruction shall be furnished to the
       satisfaction of the Company.
   (b) When liability and the extent of loss or damage has been definitely fixed in accordance with these
       Conditions the loss or damage shall be payable within thirty (30) days thereafter.
10. Subrogation Upon Payment or Settlement.
    Whenever the Company shall have settled and paid a claim under this Guarantee, all right of subrogation shall
    vest in the Company unaffected by any act of the Assured.
    The Company shall be subrogated to and be entitled to all rights and remedies which the Assured would have
    had against any person or property in respect to the claim had this Guarantee not been issued. If requested by
    the Company, the Assured shall transfer to the Company all rights and remedies against any person or
    property necessary in order to perfect this right of subrogation. The Assured shall permit the Company to sue,
    compromise or settle in the name of the Assured and to use the name of the Assured in any transaction or
    litigation involving these rights or remedies.
    If a payment on account of a claim does not fully cover the loss of the Assured the Company shall be
    subrogated to all rights and remedies of the Assured after the Assured shall have recovered its principal,
    interest, and costs of collection.
11. Arbitration.
    Either the Company or the Assured may demand that the claim or controversy shall be submitted to arbitration
    pursuant to the Title Insurance Arbitration Rules of the American Land Title Association ("Rules"). Except as
    provided in the Rules, there shall be no joinder or consolidation with claims or controversies of other persons.
    Arbitrable matters may include, but are not limited to, any controversy or claim between the Company and the
    Assured arising out of or relating to this Guarantee, any service in connection with its issuance or the breach of
    a Guarantee provision, or to any other controversy or claim arising out of the transaction giving rise to this
    Guarantee. All arbitrable matters when the amount of liability in Schedule A is $2,000,000 or less shall be
    arbitrated at the option of either the Company or the Assured. All arbitrable matters when the amount of liability
    in Schedule A is in excess of $2,000,000 shall be arbitrated only when agreed to by both the Company and the
    Assured. Arbitration pursuant to this Guarantee and under the Rules shall be binding upon the parties.
    Judgment upon the award rendered by the Arbitrator(s) may be entered in any court of competent jurisdiction.
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12. Liability Limited to This Guarantee; Guarantee Entire Contract.
    (a) This Guarantee together with all endorsements, if any, attached hereto by the Company is the entire
        Guarantee and contract between the Assured and the Company. In interpreting any provision of this
        Guarantee, this Guarantee shall be construed as a whole.
    (b) Any claim of loss or damage, whether or not based on negligence, or any action asserting such claim, shall
        be restricted to this Guarantee.
    (c) No amendment of or endorsement to this Guarantee can be made except by a writing endorsed hereon or
        attached hereto signed by either the President, a Vice President, the Secretary, an Assistant Secretary, or
        validating officer or authorized signatory of the Company.
13. Notices, Where Sent.
    All notices required to be given the Company and any statement in writing required to be furnished the
    Company shall include the number of this Guarantee and shall be addressed to the Company at 12909 SW 68th
    Parkway, Suite 350, Portland, OR 97223. WFG National Title Insurance Company’s telephone number is (800)
    334-8885.




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                                    Williston Financial Group Privacy Notice

Williston Financial Group LLC, WFG National Title Insurance Company, and each of the affiliates listed below
(collectively “WFG” or the “WFG Family”) believe it is important to protect your privacy and confidences. We
recognize and respect the privacy expectations of our customers. We believe that making you aware of how we
collect information about you, how we use that information, and with whom we share that information will form the
basis for a relationship of trust between us. This Privacy Notice provides that explanation. We reserve the right to
change this Privacy Notice from time to time.
WFG’s primary business is providing appraisal, title insurance, and escrow services for the sale or refinance of real
property. This can be a complicated process involving multiple parties, many of whom have been selected by our
customers, each filling a specialized role. In part, you have hired WFG to coordinate and smooth the passage of the
information necessary for an efficient settlement or closing.
In the course of this process, WFG collects a significant amount of personal and identifying information about the
parties to a transaction, including sensitive items that include but are not limited to: your contact information,
including email addresses, Social Security numbers, driver’s license, and other identification numbers and
information; financial, bank and insurance information; information about past and proposed mortgages and loans;
information about properties you currently or previously owned; your mortgage application package; and the cookie,
IP address, and other information captured automatically by computer systems.
Much of this information is gathered from searches of public land, tax, court and credit records to make certain that
any liens, challenges or title defects are addressed properly. Some of the information that is collected is provided
by you or the computer systems you use. We also may receive information from real estate brokers and agents,
mortgage brokers and lenders, and others working to facilitate your transaction, as well as information from public,
private or governmental databases including credit bureaus, ‘no-fly’ lists, and terrorist ‘watch lists’.
What Information is Shared?
WFG DOES NOT SELL any of your information to non-affiliated companies for marketing or any other
purpose.
However, some of the same information does get shared with persons inside and outside the WFG Family in order
to facilitate and complete your transaction.
For example:
However, some of the same information does get shared with persons inside and outside the WFG Family in order
to facilitate and complete current and future transactions.
For example:
    •   Information, draft documents, and closing costs will pass back and forth between WFG and your mortgage
        broker and lender to facilitate your transaction.
    •   Information, including purchase agreements and amendments, will pass back and forth between WFG and
        the real estate agents and brokers, the mortgage brokers and lenders, the lawyers and accountants, and
        others involved in facilitating the transaction.
    •   WFG may order property searches and examinations from title searchers, abstractors and title plants.
    •   WFG may use third parties to obtain tax information, lien information, payoff information, and condominium
        or homeowners’ association information.
    •   Third parties may be engaged to prepare documents in connection with your transaction.
    •   Surveys, appraisals, and inspections may be ordered.
    •   Within the WFG Family of companies, we may divide up the work to handle each closing in the most
        efficient manner possible and to meet specific legal and licensing requirements. Certain parts of your
        closing (for example a search or disbursement) may be handled by another division or company within the
        WFG Family.




WFG Privacy Policy
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    •   When it is time for signatures, your complete closing package may be sent to a notary, remote online
        notary, or notary service company who will arrange to meet with you to sign documents. The notary will, in
        turn, send signed copies back to us along with copies of your driver’s license or other identity documents,
        usually by mail, UPS, Federal Express or another courier service.
    •   Your deed, mortgage and other documents required to perfect title will be recorded with the local recorder
        of deeds.
    •   In some cases, we use an outside service to coordinate the recording or electronic-recording of those
        instruments, and they will receive copies of your deeds, mortgages and other recordable documents to
        process, scan and send on to the recording office.
    •   Information within your title policy may be shared with WFG National Title Insurance Company title policy
        issuing agents to facilitate future financial transactions involving your property.
    •   Various government agencies get involved. The law requires us to provide certain information to the IRS,
        the U.S. Department of the Treasury, local and state tax authorities, and other regulatory and governmental
        agencies.
    •   WFG title policy issuing agents only: personal information provided by you may be shared with a third
        party for the purposes of facilitating training to obtain CE/CLE credits.
You have a choice in the selection of a mortgage broker, lender, real estate broker or agent and others that make
up your ‘transaction team.’ Information flows to and from the members of the transaction team you have selected to
facilitate an efficient transaction for you.
When WFG selects and engages a third party provider, we limit the scope of the information shared with that third
party to the information reasonably necessary for that service provider to provide the requested services. With
most, we have entered into agreements in which they expressly commit to maintain a WFG customer’s information
in strict confidence and use the information only for purposes of providing the requested services, clearing title,
preventing fraud and addressing claims under our title insurance policies.
How does WFG use your Information?
We may use your personal information in a variety of ways, including but not limited to:
    •   Provide the products, services and title insurance you have requested, and to close and facilitate your
        transaction.
    •   Provide and use historic transaction information to facilitate future financial transactions.
    •   Coordinate and manage the appraisal process.
    •   Handle a claim or provide other services relating to your title insurance policies.
    •   Create, manage, and maintain your account.
    •   Operate and improve WFG’s applications and websites, including WFG MyHome®, WFG’s secure
        communication and transaction portal. Your information is used for access management, payment
        processing, site administration, internal operations, troubleshooting, data analysis, testing, research, and
        for statistical purposes.
    •   Respond to your requests, feedback or inquiries.
    •   Comply with laws, regulations, and other legal requirements.
    •   Comply with relevant industry standards and our policies, including managing WFG’s risk profile through
        reinsurance.
    •   Protect and enforce your rights and the rights of other users against unlawful activity, including identity theft
        and fraud.
    •   Protect and enforce our collective rights arising under any agreements entered into between WFG and you
        or any other third party.
    •   Protect the integrity and maintain security of our applications, websites, and products.
    •   Operate, evaluate, and improve our business.
    •   Provide you with information about products, services, and promotions from WFG or third parties that may
        interest you.
    •   WFG title policy issuing agents only: Provide you with a training platform to obtain CE/CLE credits




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How Do We Store and Protect Your Personal Information?
Although no system can guarantee the complete security of your personal information, we will use our best efforts
to maintain commercially reasonable technical, organizational, and physical safeguards, consistent with applicable
law, to protect your personal information and our systems and sites from malicious intrusions or hacking.
How Long Do We Keep Your Personal Information?
We keep your personal information for as long as necessary to comply with the purpose for which it was collected,
our business needs, and our legal and regulatory obligations. We may store some personal information indefinitely.
If we dispose of your personal information, we will do so in a way that is secure and appropriate to the nature of the
information subject to disposal.
Computer Information
When you access a WFG website, or communicate with us by e-mail, we may automatically collect and store more
information than you are expressly providing when you fill out a survey or send an email. This may include:
    •   Your IP Address.
    •   Your email address, your alias and, social media handles.
    •   The type of browser and operating system you use.
    •   The time of your visit.
    •   The pages of our site you visit.
    •   Cookies.
In order to provide you with customized service, we make use of Web browser cookies. Cookies are files that help
us identify your computer and personalize your online experience. You may disable cookies on your computer, but
you may not be able to download online documents or access certain websites unless cookies are enabled.
The technical information we collect is used for administrative and technical purposes and to prevent fraud and
provide identity verification. For instance, we may use it to count the number of visitors to our website and
determine the most popular pages. We may also use it to review types of technology you are using, determine
which link brought you to our website, assess how our advertisements on other websites are working, help with
maintenance, and improve our customers’ experience.
We may compare information gathered on previous visits to verify that we are interacting with the same parties and
not a potential imposter.
If we ask you to fill out any forms or surveys, we will use the information we receive only for the specific purposes
indicated in those forms or surveys.
The information you and your transaction team send us in emails or attached to an email, or provide through any of
our online tools, is used for purposes of providing title, escrow and appraisal management services and used for
the purposes described above.
In addition to the above, if you use an eClosing platform to sign your real estate transaction additional information
may be collected. This may include:
    •   Your IP address.
    •   Your location.
    •   Your email address and your alias.
    •   The type of browser and operating system you use.
    •   The time of your visit.
    •   Your biometrics.
    •   Your image.
    •   Video recording of your transaction signing.
    •   Transaction metadata.
    •   Cookies.
Links to Third Party Sites
Our Applications and Websites may contain links to third-party websites and services. Please note that these links
are provided for your convenience and information, and the websites and services may operate independently from
us and have their own privacy policies or notices, which we strongly suggest you review. This Privacy Notice
applies to WFG’s applications and websites only.



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Do Not Track
Because there is not an industry-standard process or defined criteria to permit a user to opt-out of tracking their
online activities (“Do Not Track”), our websites do not currently change the way they operate based upon detection
of a Do Not Track or similar signal. Likewise, we cannot assure that third parties are not able to collect information
about your online activities on WFG websites or applications.
Social Media Integration
Our applications, websites, and products contain links to and from social media platforms. You may choose to
connect to us through a social media platform, such as Facebook, Twitter, Google, etc. When you do, we may
collect from the social media platform additional information from or about you, such as your screen names, profile
picture, contact information, contact list, and the profile pictures of your contacts. The social media platforms may
also collect information from you.
When you click on a social plug-in, such as Facebook's "Like" button, Twitter's "tweet" button, or the Google+, that
particular social network's plug-in will be activated and your browser will directly connect to that provider's servers.
Your action in clicking on the social plug-in causes information to be passed to the social media platform.
We do not have control over the collection, use and sharing practices of social media platforms. We therefore
encourage you to review their usage and disclosure policies and practices, including their data security practices,
before using social media platforms.
How Can You “Opt-Out?”
We do not sell your information; therefore there is no need to opt-out of such reselling. Under various laws, you
can opt-out of the sharing of your information for more narrow purposes. For additional detail, consult the Links
under the “Legal” Notices attached below.
The “Legal” Notices
To comply with various federal and state laws, we are required to provide more complete legal notices and
disclosures – see links below. The state-specific statutes referenced therein may also give residents of those states
additional rights and remedies.
Privacy Notice for California Residents - https://national.wfgnationaltitle.com/privacy-notice-california
Privacy Notice for Oregon Residents - https://national.wfgnationaltitle.com/privacy-notice-oregon

                                                  How to Contact Us
If you have any questions about WFG’s privacy notice or how we protect your information, please contact WFG:
        • By email: Consumerprivacy@willistonfinancial.com
        • By telephone: 833-451-5718
        • By fax: 503-974-9596
        • By mail: 12909 SW 68th Pkwy, Suite 350, Portland, OR 97223

                                      WFG FAMILY
                             WILLISTON FINANCIAL GROUP LLC
                         WFG NATIONAL TITLE INSURANCE COMPANY
                                WFG LENDER SERVICES, LLC
                            WFGLS TITLE AGENCY OF UTAH, LLC
                    WFG NATIONAL TITLE COMPANY OF WASHINGTON, LLC
                       WFG NATIONAL TITLE COMPANY OF CALIFORNIA
      WFG NATIONAL TITLE COMPANY OF TEXAS, LLC D/B/A WFG NATIONAL TITLE COMPANY
                             UNIVERSAL TITLE PARTNERS, LLC
                                VALUTRUST SOLUTIONS, LLC
 MYHOME, A WILLISTON FINANCIAL GROUP COMPANY, LLC (formerly known as WILLISTON ENTERPRISE
                             SOLUTIONS & TECHNOLOGY, LLC)
     WFG NATIONAL TITLE COMPANY OF CLARK COUNTY, WA, LLC, D/B/A WFG NATIONAL TITLE

Rev 12.20.2022




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FACTS                         WHAT DOES WILLISTON FINANCIAL GROUP DO
                              WITH YOUR PERSONAL INFORMATION?
Why?                     Financial companies choose how they share your personal information. Federal law gives
                         consumers the right to limit some but not all sharing. Federal law also requires us to tell you how we
                         collect, share, and protect your personal information. Please read this notice carefully to understand
                         what we do.
What?                    The types of personal information we collect and share depend on the product or service you have
                         with us. This information can include:
                               •    Social Security number and other government identification information
                               •    Your name, address, phone, and email
                               •    Information about the property, any liens and restrictions
                               •    Financial Information including credit history and other debt
                               • Financial account information, including wire transfer instructions.
How?                     All financial companies need to share customers’ personal information to run their everyday
                         business. In the section below, we list the reasons financial companies can share their customers’
                         personal information; the reasons Williston Financial Group chooses to share; and whether you can
                         limit this sharing.
Reasons we can share your personal information                   Does Williston Financial Group          Can you limit this
                                                                 share?                                  sharing?
For our everyday business purposes—                                               Yes                                No
such as to process your transactions, maintain your
account(s), respond to court orders and legal
investigations, or report to credit bureaus
For our marketing purposes—                                                       Yes                                No
to offer our products and services to you
For joint marketing with other financial companies                                 No                        We don’t share
For our affiliates’ everyday business purposes—                                   Yes                                No
information about your transactions and experiences
For our affiliates’ everyday business purposes—                                    No                        We don’t share
information about your creditworthiness
For our affiliates to market to you                                                No                        We don’t share
For nonaffiliates to market to you                                                 No                        We don’t share
To limit                       •    Call 833-451-5718—our menu will prompt you through your choice(s)
our sharing                    •    Visit us online: http://bit.ly/WFGsConsumerPrivacyInformationRequestPage or e-mailing us
                                    at consumerprivacy@willistonfinancial.com
                               •    Mail the form below

                             Please note:

                             If you are a new customer, we can begin sharing your information from the date we sent this notice.
                             When you are no longer our customer, we continue to share your information as described in this
                             notice.
                             However, you can contact us at any time to limit our sharing.
Questions?                   Call 833-451-5718 or Email consumerprivacy@willistonfinancial.com
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- - - - - - - - - - - - - - - - - - - - -
Mail-In Form
If you have a joint           Mark any/all you want to limit:
policy, your choices          [ ] Do not share information about my creditworthiness with your affiliates for their everyday
will apply to                     business purposes.
everyone on your              [ ] Do not allow your affiliates to use my personal information to market to me.
account.                      [ ] Do not share my personal information with nonaffiliates to market their products and services to
                                  me.
                              Name                                                                          Mail to:
                              Address                                                                       Williston Financial
                                                                                                            Group
                                                                                                            PRIVACY DEPT
                              City, State, Zip
                                                                                                            12909 SW 68th Pkwy,
                              File Number                                                                   #350
                                                                                                            Portland, OR 97223




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Who we are
Who is providing this notice                            Williston Financial Group, LLC and its affiliates and subsidiaries as
                                                        listed below:
What we do
How does Williston Financial Group protect my           To protect your personal information from unauthorized access and
personal information?                                   use, we use security measures that comply with federal law. These
                                                        measures include computer safeguards and secured files and
                                                        buildings. We limit access to your information to employees that
                                                        need to use the information to process or protect transaction. We
                                                        take industry standard (IPSEC) measures to protect against
                                                        malicious intrusions or hacking

How does Williston Financial Group collect my           We collect your personal information, for example, when you
personal information?                                      •    Apply for insurance
                                                           •    Engage us to provide appraisal, title and escrow services
                                                           •    Give us your contact information
                                                           •    Provide your mortgage information
                                                           • Show your driver’s license

                                                        We also collect your personal information from others, such as real
                                                        estate agents and brokers, mortgage brokers, lenders, credit
                                                        bureaus, affiliates, and others

Why can’t I limit all sharing?                          Federal law gives you the right to limit only
                                                              •    sharing for affiliates’ everyday business purposes—
                                                                   information about your creditworthiness
                                                              •    affiliates from using your information to market to you
                                                              • sharing for nonaffiliates to market to you
                                                        State laws and individual companies may give you additional rights
                                                        to limit sharing. See below for more on your rights under state law.
What happens when I limit sharing for an account I      Your choices will apply to everyone on your policy.
hold jointly with someone else?
Definitions
Affiliates                                              Companies related by common ownership or control. They can be
                                                        financial and nonfinancial companies.

                                                        Our affiliates include companies with a common corporate identity,
                                                        including those listed below.
Nonaffiliates                                           Companies not related by common ownership or control. They can
                                                        be financial and nonfinancial companies.

                                                        Nonaffilliates we share with can include real estate agents and
                                                        brokers, mortgage brokers, lenders, appraisers, abstractors and title
                                                        searchers and others as appropriate to facilitate your transaction.

Joint marketing                                         A formal agreement between nonaffiliated financial companies that
                                                        together market financial products or services to you.

                                                         Williston Financial Group does not jointly market.
Other important information
As a resident or citizen of certain states, we may have to provide additional state specific privacy notices and you may have
rights other than as set forth above. The links below will provide state specific information:
Privacy Notice for California Residents - https://national.wfgnationaltitle.com/privacy-notice-california
Privacy Notice for Oregon Residents - https://national.wfgnationaltitle.com/privacy-notice-oregon




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 1                                DECLARATION OF SCOTT A. SCHIFF

 2

 3   I, Scott A. Schiff, declare and say as follows:

 4          1.      I am an attorney at law licensed to practice before the courts of the State of California

 5   and before this Court. I am a partner of Soukup & Schiff, LLP, counsel to National Loan
 6
     Acquisitions Company (“NLAC”). I make the following declaration on the basis of my own
 7
     firsthand knowledge, except for those matters which are stated upon information and belief which I
 8
     believe to be true, and if called upon to do so, could and would competently testify thereto. I make
 9
     this declaration in support of NLAC’s Objections to Debtor Philip H. Inman’s Original Chapter 13
10

11   Plan (the “Objections”).

12          2.      On March 5, 2024, I attended Debtor Philip H. Inman’s Meeting of Creditors via
13   Zoom. Debtor stated during his Meeting of Creditors that the monthly payment to Planet Home
14
     Lending is $1,480.00.
15
            3.      Debtor stated during his Meeting of Creditors that PKN Investments, LLC (“PKN”) is
16
     owed approximately $220,000.00, that the payment on that loan is $1,837.50 a month, and that loan is
17

18   secured by his 50% interest in the property located at 12066-68 Downey Avenue, Downey, California

19   90241 (the “Downey Property”).

20          4.      I am informed and believe that there are two Deeds of Trust recorded against Debtor’s
21   50% interest in the Downey Property, and that both of those Deeds of Trust are in favor of PKN.
22
     Attached hereto as Exhibit 1 is a true and correct copy of the Data Tree report regarding the Downey
23
     Property that I obtained on March 13, 2024 reflecting Los Angeles County Data as of March 8, 2024
24
     (the “Data Tree Report”). The Data Tree Report shows, on page 3, that there are two active Deeds of
25

26   Trust in favor of PKN. The first position Deed of Trust, recorded on January 10, 2018, secures a loan

27   in the original amount of $90,000.00, and the second position Deed of Trust, recorded on September

28   26, 2019, secures a loan in the original amount of $210,000.00. A copy of the Deed of Trust recorded


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Property Detail Report
12066 Downey Ave, Downey, CA 90242-2
                                   2532                                                                                                        Reference ID: NTLINM
APN: 6258-007-041                                                                                                            Los Angeles County Data as of: 03/08/2024

Owner In
       nformation
Owner Name:            Inman Philip H / J C & E A Van Zee Trust & / Van Zee Elizabeth A TR
Vesting:               Unmarried Man
Mailing Address:       Po Box 35413, Phoenix, AZ 85069-5413                                                              Occupancy:              Unknown

Location In
          nformation
                       Rancho Santa Gertrudes Finally Confirmed To J P Mcfarland And J G Downey
Legal Description:     Lot On Se Line Of Downey Ave Per Or25895-177 Com Sw Thereon 197.95 Ft           County:               Los Angeles, CA
                       From Sw Line Of Downey Villa Tr # 2 Th Sw On Sd Se Line 329.9 Ft S 62 43 E
APN:                   6258-007-041                Alternate APN:                                      Census Tract / Block: 551202 / 4002
Munic / Twnshp:        South /Holy/Down/Bel G      Twnshp-Rng-Sec:                                     Legal Lot / Block:
Subdivision:           Rancho Santa Gertrudes      Tract #:                   2                        Legal Book / Page:    13 / 18
Neighborhood:          The Southeast               School District:           Downey Unified School District
Elementary School:     Alameda Elementary...       Middle School:             Sussman Middle Sch... High School:             Downey High School
Latitude:              33.92916                    Longitude:                 -118.14009

Last Transfer / Conveyance - Current Owner
Transfer / Rec Date:   12/01/2010 / 01/20/2011       Price:                                                              Transfer Doc #:        2011.109985
Buyer Name:            Vanzee J C & E A Living Trust Seller Name:                        Vanzee Elizabeth A              Deed Type:             Quitclaim

Last Market Sale
               e
Sale / Rec Date:       / 12/12/1975                     Sale Price / Type:               $35,136 /                       Deed Type:             Deed
Multi / Split Sale:                                     Price / Sq. Ft.:                 $6                              New Construction:
1st Mtg Amt / Type:                                     1st Mtg Rate / Type:                                             1st Mtg Doc #:         N/A
2nd Mtg Amt / Type:                                     2nd Mtg Rate / Type:                                             Sale Doc #:            1975.12.12.947
Seller Name:           Owner Name Unavailable
Lender:                                                                                                                  Title Company:

Prior Sale
         e In
            nformation
Sale / Rec Date:                                        Sale Price / Type:                                               Prior Deed Type:
1st Mtg Amt / Type:                                     1st Mtg Rate / Type:                                             Prior Sale Doc #:      N/A
Prior Lender:

Property Characteristics
Gross Living Area:     6,358 Sq. Ft.                    Total Rooms:                     0                               Year Built / Eff:      1961
Living Area:           6,358 Sq. Ft.                    Bedrooms:                        13                              Stories:
Total Adj. Area:                                        Baths (F / H):                   8/                              Parking Type:
Above Grade:           6,358 Sq. Ft.                    Pool:                                                            Garage #:
Basement Area:                                          Fireplace:                                                       Garage Area:
Style:                                                  Cooling:                                                         Porch Type:
Foundation:                                             Heating:                         Heated                          Patio Type:
Quality:               Good                             Exterior Wall:                                                   Roof Type:
Condition:                                              Construction Type:               Wood                            Roof Material:

Site In
      nformation
Land Use:              Apartment                        Lot Area:                        22,016 Sq. Ft.                  Zoning:                DOR3-P*
State Use:                                              Lot Width / Depth:               66 / 330                        # of Buildings:        3
                       0500 - Five Or More Units Or
County Use:            Apartments (Any              Usable Lot:                          22016                           Res / Comm Units:      8/
                       Combination)
Site Influence:                                     Acres:                               0.505                           Water / Sewer Type:
Flood Zone Code:       X                            Flood Map #:                         06037C1820F                     Flood Map Date:        09/26/2008
Community Name:        City Of Downey               Flood Panel #:                       1820F                           Inside SFHA:           False

Tax In
     nformation
Assessed Year:         2023                             Assessed Value:                  $256,058                        Market Total Value:
Tax Year:              2023                             Land Value:                      $168,632                        Market Land Value:
Tax Area:              03-266                           Improvement Value:               $87,426                         Market Imprv Value:
Property Tax:          $5,665.87                        Improved %:                      34.14%                          Market Imprv %:



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                                                                                                                    DECLARATION OF SCOTT A. SCHIFF
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Exemption:                              Delinquent Year:




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Transaction History Report
12066 Downey Ave, Downey, CA 90242-2
                                   2532                                                                                                            Reference ID: NTLINM
APN: 6258-007-041                                                                                                             Los Angeles County Data as of: 03/08/2024

Current Owner: Vanzee J C & E A Living Trust
Vesting: Unmarried Man
1975 - Present



Date            Type            Verified Amount            Borrower(s)                         Lender           Loan Type      Type / Term        Rate Document #

                                                                                               Pkn
                Trust                                                                                                                             3.60
09/26/2019                              $210,000           Inman Philip H                      Investments                     Est /                      2019.1007816
                Deed/Mortgage                                                                                                                     0
                                                                                               LLC

                                                                                               Pkn
                Trust
01/10/2018                              $90,000            Lnman Philip H                      Investnents      Construction / 3 Years                    2018.27939
                Deed/Mortgage
                                                                                               LLC

                Trust                                                                          American
02/28/1996                              $175,000           Inman Trust                                          Conventional Var /                        1996.318620
                Deed/Mortgage                                                                  Savings Bank

   12/14/2011       Release                                                                                                                               2011.1688674




Date            Rec Date         Verified Price           Type           Title Company    Buyer                              Seller                            Document #

12/01/2010      01/20/2011                                                                Vanzee J C & E A Living Trust      Vanzee Elizabeth A                2011.109985

10/27/2009      11/04/2009                                               Attorney Only    Inman Philip H                     Inman Alcie L Living Trust        2009.1663119

04/30/1993      05/07/1993                                                                Inman Alcie L                                                        1993.874180

                12/12/1975                $35,136                                         Owner Name Unavailable             Owner Name Unavailable            1975.12.12.947




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Disclaimer: This report: (i) is not an insured product or service or an abstract, legal opinion or a representation of the condition of title to real
property, and (ii) is issued exclusively for the benefit of First American Data Tree LLC (Data Tree) customers and may not be used or relied upon by
any other person. Estimated property values are: (i) based on available data; (ii) are not guaranteed or warranted; (iii) do not constitute an appraisal;
and (iv) should not be relied upon in lieu of an appraisal. Data Tree does not represent or warrant that the information is complete or free from
error, and expressly disclaims any liability to any person or entity for loss or damage caused by errors or omissions in the report. If the "verified"
logo (     ) is displayed, or a record is designated "verified," Data Tree's algorithm matched fields from two or more data sources to confirm source
data.

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                                                                                                        DECLARATION OF SCOTT A. SCHIFF
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